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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MONTANA
                              BILLINGS DIVISION


Denice D. Fabrizius,
and William Fabrizius                                      CV-08-114-BLG-RFC

                   Plaintiff,

      vs.                                            JUDGMENT IN A CIVIL CASE

Yellowstone Surgery Center

                   Defendant,

__ Jury Verdict. This action came before the Court for a trial by jury. The issues have
been tried and the jury has rendered its verdict.

_XX_ Decision by Court. This action came before the Court on motion, hearing, or
determination on the record. A decision has been rendered.


Judgment is entered in accordance with the order filed on 1/4/2010 (doc 87)
which states: YSC’s Motion for Summary Judgment regarding
Negligence and Consortium Claims [doc. #36] is GRANTED.


      Dated this 20th day May, 2010.
                                              PATRICK E. DUFFY, CLERK

                                              By: /s/ Amanda Lambott
                                                     Deputy Clerk
